US. Department of Justice 5-cy-01814-BAH DocumdMROCESSRECHIPT AND RETURN
United States Marshals Service See "Instructions for Service of Process by U.S, Marshal"

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PLAINTIFF _ A COURT CASE NUMBER
E kev e Inyengett} @
DEFENDANT ao TYPE OF PROCESS
oO ae f
IFC Kurhs Henry
NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE TF C Kurbs Henry

AT. )) ADDRESS (Street or RFD, Apartment’No., City, State and ZIP Code)

IS Tumopike Dave, Perrq ville, Md 21403

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME/AND ADDRESS BELOW

Number of process to be
served with this Form 285
[ Ekevre Ing anges be
| Number of parties to be
IS 6 Meonloury Re served in this case
Essex ’ Md 21 22 Check for service
| on U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold ald
Signature of Attomey other Originator requesting service on behalf of: Bed PLAINTIEF TELEPHONE NUMBER DATE
fa Cloeawmr | 202 g61- 3406 | 6-9-2025
SPACE BELOW'FOR USE OF U.S. MARSHAL ONLY— DO NOT WRITE BELOW THIS LINE
Tacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve
(Sign only for USM 285 if more
than one USM 285 is submitted) No. Noa.

Thereby certify and return that I LF have personally served Oo have legal evidence of service, T] have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc, shown at the address inserted below.

[1 Thereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above} (1 A person of suitable age and discretion
then residing in defendant's usual place
of abode
Address (complete only different than shown above) Date Time
L] am
O pm
Signature of U.S. Marshal or Deputy
Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal*™ or
including endeavors) (Amount of Refund*)
REMARKS:
iicaeintaeomier |. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED

2. USMS RECORD
3. NOTICE OF SERVICE
4, BILLING STATEMENT™: To be retumed to the U.S. Marshal with payment,
if any amount is owed. Please remit promptly payable to U.S, Marshal. Form USM-285
§, ACKNOWLEDGMENT OF RECEIPT Rev. 11/13

